Name andCase
        address:2:18-cv-05933-PA-AS                  Document 15 Filed 07/30/18 Page 1 of 6 Page ID #:63
Erica Van Loon (SBN 227712)
Glaser Weil
102S0 Constellation Blvd., 19th Floor
Los Angeles, CA 90067
310.553.3000 Telephone
310.556.2920 Facsimile
evanloon@glaserweil.com

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

WEBMAGIC VENTURES, LLC, a                                                   CASE NUMBER               2:18-cv-05933
California limited liability company,
                                                          Plamtiff(s),

                    Y#
DEUX RON, INC., a Tennessee                                                   APPLICATION OF NON-RESIDENT ATTORNEY
Corporation; RON HENSLEY, an individual; and                                       TO APPEAR IN A SPECIFIC CASE
ERIC HENSLEY, an individual          Defendant(s),                                                 PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's CM/ECF System ("Motions and Related Filings
    => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order (using
    Form G-64 ORDER, available from the Court's website), and pay the required $400fee online at the time offiling (using a credit card).
    The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be grounds for
    denying the Application. Out-of-state federal government attorneys are not required to pay the $400fee. (Certain attorneys for the
    United States are also exempt from the requirement of applying for pro hac vice status. See L.R 83-2.1.4.) A copy of the G-64 ORDER in
    Word or WordPerfect format must be emailed to the generic chambers email address. L.R 5-4.4.2.
SECTION I - INFORMATION

    Jackson, John G.
 Applicant's Name (Last Name, First Name & Middle Initial)                                         check here if federal government attorney•

    Chamhliss Rahner & Stophel, P.C
 Firm/Agency Name

 605 Chestaut St., Ste. 1700                                             423-757-0246 (direct dial)             423-508-1246 (direct fax)
  Liberty Tower                                                          Telephone Number                       Fax Number
Street Address

 Chattanooga, TN 37450                                                    i iackson@chamblisslaw.com
City, State, Zip Code                                                                                E-mail Address

I have been retained to represent the following parties:

   Deux Ron. Inc.. Ron Henslev and Eric Henslev                          [~1 Plaintijf(s) 0 Defendant(s) Q Other:
                                                                         D Plaintiffs) Q] Defendant(s) • Other:
Name(s) ofParty(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                    Name of Court                         Date of Admission          Active Member in Good Standing? (if not, please explain)
State of TN including TN Supreme Court                   10/26/1989                   Active Member in Good Standing
USDC Eastern District of Tennessee                       04/23/1990                  Active Member in Good Standing
USDC Middle District of Tennessee                        05/30/2000                   Active Member in Good Standing
See additional admissions below
G-64 (07/18)                   APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                            Page 1 of3
               Case 2:18-cv-05933-PA-AS Document 15 Filed 07/30/18 Page 2 of 6 Page ID #:64
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
       Case Number                                     Title of Action                                 Date of Application        Granted / Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Has the applicant previously registered as a CM/ECF user in the Central District of California?                 [X|   Yes     Q    No

If yes, was the applicant's CM/ECF User account associated with the e-mail address provided above?              [X]   Yes    • No



                                                                                                     Previous E-mail Used (if applicable)


Attorneys must be registered for the Court's Case Management/Electronic Case Filing ("CM/ECF") System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM/ECF User. If the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will be associated with your case. Pursuant to Local Rule 5-3.2.3, registering as a CM/ECF User is deemed consent, for purposes of Fed. R. Civ.
P. 5(b)(2)(E), to electronic service of documents through the CM/ECF System. You have the right to withhold or revoke your consent to
electronic service at any time; simply complete and return a Central District Electronic Service Exemption Form (Form G-05, available from
the Court's website). If the Court receives an Electronic Service Exemption Form from you, you will no longer receive notice by e-mail when
Court orders or other documents are filed in cases in which you are counsel of record; instead, copies of such documents will be sent to you
through the mail.

SECTION II - CERTIFICATION
I declare under penalty of perjury that:
(1) All of the above information is true and correct.
(2) I am not a resident of the State of California. I am not regularly employed in, or engaged in substantial business,
    professional, or other activities in the State of California.
(3) I am not currently suspended from and have never been disbarred from practice in any court.
(4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
    and the Federal Rules of Evidence.
(5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
    maintains an office in the Central District of California for the practice of law, as local counsel pursuant to Local
    Rule 83-2.1.3.4.


               Dated^        jl/i             &0(                         John G. Jackson
                        1/                                               Applicant's Namejplease type or print)

                                                                              /PJ
                                                                             ftcant's   Signatj/re




G-64 (07/18)                    APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Page 2 of 3
               Case 2:18-cv-05933-PA-AS Document 15 Filed 07/30/18 Page 3 of 6 Page ID #:65
SECTION III - DESIGNATION OF LOCAL COUNSEL
 Van Loon, Erica J.
Designee's Name (Last Name, First Name & Middle Initial)
 Glaser Weil

 Firm/Agency Name
 10250 Constellation Blvd.                                             310.553.3000                            310.785.3504
                                                                      Telephone Number                         Fax Number
  19th Floor
Street Address                                                          evanloon@glaserweil.com

                                                                      E-mail Address
 Los Angeles, CA 90067
City, State, Zip Code                                                    227712

                                                                      Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law.

               Dated         July 30, 2018                              Erica J. Van Loon

                                                                      Designee's Name (please type or print)

                                                                        /s. Erica J. Van Loon

                                                                      Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

     Additional Admissions:

 Name of Court                                             Date of Admission                      Active Member in Good Standing?

  USDC Western District of Tennessee                       03/09/2012                             Active Member in Good Standing

 GA Supreme Court                                          05/20/1993                             Active Member in Good Standing

  USDC Northern District of Georgia                        06/07/1991                             Active Member in Good Standing

 U.S. Court of Appeals 6th Circuit                         04/06/1997                             Active Member in Good Standing

  U.S. Court of Appeals 11th Circuit                       12/05/2003                             Active Member in Good Standing

 U.S. Court of Appeals Federal Circuit                     04/19/2006                             Active Member in Good Standing

 USDC Eastern Division of Wisconsin                        02/18/2001                             Active Member in Good Standing




G-64 (07/18)                     APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                Page 3 of 3
Case 2:18-cv-05933-PA-AS Document 15 Filed 07/30/18 Page 4 of 6 Page ID #:66




                   Supreme Court of Tennessee

                    Certificate of Good Standing



      I, James M. Hivner, Clerk ofthe Supreme Court ofthe State of Tennessee,
do hereby certify that



                             John G. Jackson


is a licensed and practicing attorney ofthe Courts ofthis State, having been
admitted to practice on October 26, 1989, and is presently in good standing. The
Supreme Court is the Court oflast resort in Tennessee.



       In testimony whereof I have set my hand and affixed the seal ofthe Court on
this the 24th day ofJuly, 2018.



                                     James M. Hivner
                                     Clerk ofthe Supreme Court of Tennessee



                                     By: ^M^Pl/jAi'^
                                            Kitty Martin, B.C.
Case 2:18-cv-05933-PA-AS Document 15 Filed 07/30/18 Page 5 of 6 Page ID #:67




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             Case 2:18-cv-05933-PA-AS Document 15 Filed 07/30/18 Page 6 of 6 Page ID #:68




                                                                                   THERESE S. BARNES, CLERK/COURT EXECUTIVE
P.   HARRIS HINES,     CHIEF JUSTICE

HAROLD D.     MELTON, PRESIDING JUSTICE                   of                       JEAN   RUSKELL,   REPORTER


ROBERT BENHAM
                                                STATE JUDICIAL BUILDING
CAROL W.     HUNSTEIN

DAVID E.     NAHMIAS

KEITH   R.   BLACKWELL
                                                               30334
MICHAEL P.     BOGGS

NELS S.D.     PETERSON

BRITT C.     GRANT

        JUSTICES




                                                      July 25, 2018




                        I hereby certify that John Gerard Jackson. Esq.. was admitted on the 20lh day of

             May. 1993. as a member of the bar of the Supreme Court of Georgia, the highest court of


             this State: and. since that date he has been and is now a member of this bar in good


             standing, as appears from the records and files in this office.




                                                       Witness my signature and the seal of this Court


                                                       hereto affixed the day and year first above written.




                                                                                                                . Clerk
